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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

 TIMOTHY KING, MARIAN
 SHERIDAN, JOHN HAGGARD,
 CHARLES RITCHARD,JAMES                        Case No. 2:20-CV-13134
 HOOPER, DAREN RUBINGH,

       Plaintiffs,
                                               Hon. Judge Linda V. Parker
 vs.                                           Magistrate Mag. R. Steven Whalen

 GRETCHEN WHITMER, in her
 official capacity as the Governor of
 the State of Michigan, JOCELYN
 BENSON, in her official capacity as
 Michigan Secretary of State and the
 Michigan BOARD OF STATE
 CANVASSERS,

       Defendants,

 and

 CITY OF DETROIT,
 DEMOCRATIC NATIONAL
 COMMITTEE and MICHIGAN
 DEMOCRATIC PARTY,

       Intervenor-Defendants.


           STEFANIE LYNN JUNTILLA’S NOTICE OF APPEAL

       Stefanie Lynn Juntilla (Lambert), appearing in pro per, against whom the

district court awarded sanctions in the above-captioned case, hereby gives notice of

an appeal to the United States Court of Appeals for the Sixth Circuit from the orders
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and judgments of the district court imposing sanctions against her and awarding

attorneys’ fees to the City of Detroit, Gretchen Whitmer and Jocelyn Benson

[Docket Nos. 172, 179, and 180] and from all orders subsumed thereunder with

respect to said judgment.

      The Court entered its final judgment on December 2, 2021 (Docket No. 180),

and this notice of appeal is timely filed.

                                        Respectfully submitted,

                                        /s/ Stefanie Lynn Lambert

                                        Stefanie Lynn Junttila (in pro per)
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Dated : January 3, 2022
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                            CERTIFICATE OF SERVICE

      I hereby certify that on January 3, 2022, I electronically filed Stefanie Lynn
      Juntilla’s Notice of Appeal with the Clerk of the Court using the ECF system,
      and that a copy of same was electronically served on all counsel of record via
      the ECF system and to any counsel not registered to receive electronic copies
      from the court, by enclosing same in a sealed envelope with first class postage
      fully prepaid, addressed to the above, and depositing said envelope and its
      contents in a receptacle for the US Mail.

                                      Respectfully submitted,

                                      /s/ Stefanie Lynn Lambert

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